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Jon V. Harper (#1378)
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[Additional counsel on signature pages]
Attorneys for Movant Yedid Lawi

                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


 JOSE MORENO, Individually and on Behalf of            )   No.: 2:18-cv-00510-JNP
 All Others Similarly Situated,                        )
                                                       )   CLASS ACTION
                                          Plaintiff,   )
                        v.                             )
                                                       )   NOTICE OF MOTION OF YEDID
                                                       )   LAWI FOR CONSOLIDATION,
 POLARITYTE, INC., DENVER LOUGH, and
                                                       )   APPOINTMENT AS LEAD
 JEFF DYER,
                                                       )   PLAINTIFF AND APPROVAL OF
                                     Defendants.       )   COUNSEL; MEMORANDUM OF
                                                       )   LAW IN SUPPORT
                                                       )
                                                       )
                                                       )   Honorable Jill N. Parish

 YEDID LAWI, Individually and on Behalf of             )
 All Others Similarly Situated,                        )
                                                       )   No.: 2:18-cv-00541-PMW
                                          Plaintiff,   )   CLASS ACTION
                        v.                             )
                                                       )
 POLARITYTE, INC., DENVER LOUGH, and                   )   Magistrate Judge Paul M. Warner
 JEFF DYER,                                            )
                                                       )
                                     Defendants.       )
                                                       )

       Pursuant to DUCiv R42-1, Plaintiff Yedid Lawi, by and through counsel, hereby gives

notice that he has filed a motion to consolidate this action and to appoint lead plaintiff and


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approve class counsel in the lower-numbered related case entitled Jose Moreno v. PolarityTE,

Inc., Denver Lough, and Jeff Dyer, Civil No. 2:18-cv-00510-JNP, captioned MOTION OF

YEDID LAWI FOR CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND

APPROVAL OF COUNSEL; MEMORANDUM OF LAW IN SUPPORT.

Dated: August 28, 2018                      Respectfully submitted,


                                             /s/ Jon V. Harper
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                                             Counsel for Yedid Lawi and Proposed Class
                                             2
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of August 2018, a true and correct copy of the

foregoing document was served electronically by CM/ECF to the parties registered to the Court’s

CM/ECF system.




                                                     /s/Jon V. Harper
                                                       Jon V. Harper




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